Case 2:10-md-02179-CJB-DPC Document 552 Filed 10/15/10 Page 1 of 2

IN THE UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

This Document Relates To:
10-01516

*
In Re: * MDL No. 2179
Oil Spill by the Oil Rig *
“Deepwater Horizon” in the * SECTION “J”
Gulf of Mexico, on *
April 20, 2010 * JUDGE BARBIER
*
* MAGISTRATE JUDGE
* SHUSHAN
*
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EX PARTE MOTION TO ENROLL
ADDITIONAL COUNSEL OF RECORD

NOW INTO COURT, through undersigned counsel, come plaintiffs, Cajun Crab,
et al., who respectfully requests that this Honorable Court enter an Order allowing
Natalie K. Mitchell of Kinney & Ellinghausen, APLC, to enroll as additional counsel of
record for plaintiffs in the action titled Cajun Crab, et al. v. BP, PLC, et al., Civil Action
10-cv-01516. Natalie K. Mitchell is a member of good standing of the bar of the state of
Louisiana and is admitted to practice in the United States District Court for the Eastern
District of Louisiana. This action is among those consolidated actions which are currently
pending before this Court in the action titled In re: Oil Spill by the Oil Rig “Deepwater
Horizon in the Gulf of Mexico, on April 20, 2010, Civil Action 10-md-2179.

WHEREFORE, Plaintiffs Cajun Crab, LLC, Bayouside Drive Seafood, LLC, and
Eric Blanchard respectfully requests that this Motion to Enroll Additional Counsel of

Record be Granted.
Case 2:10-md-02179-CJB-DPC Document 552 Filed 10/15/10 Page 2 of 2

Dated: October 15, 2010.

RESPECTFULLY SUBMITTED:
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